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UNITED STATES DISTRICT COURT
EASTERN DISTRICT GF LOUISIANA
CASE NO. 2:21l-cev-d00060
DONNA LOU and DAREN PARSA, on their own behalf and
on behalf of their deceased minor child, E.P.

Plaintiffs,

VERSUS

SHERIFF JOSEPH P. LOPINTO, III, CHAD PITFIELD, RYAN
VAUGHT, STEVEN MEHRTENS, SHANNON GUIDRY, NICK VEGA,
MANUEL ESTRADA, MYRON GAUDET, JOHN DOES 1-3,
VICTORY REAL ESTATE INVESTMENTS LA, LLC D/B/A
WESTGATE SHOPPING CENTER, ABC INSURANCE COMPANY,
and XY¥4 INSURANCE COMPANY,

Defendants.

DEPOSITION OF DONNA LOU, given in the
above-entitled cause, pursuant to the following
stipulation, before Sandra P. DiFebbo, Certified
Shorthand Reporter, in and for the State of
Louisiana, at JPSO, 1233 Westbank Expressway, Fifth
Floor, Harvey, Louisiana, on the 14th day of

November, 2022, commencing at 9:04 AM.

KELLY & ASSOCIATES
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EXHIBIT 3

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possibility -- I remember hearing a lady's voice,
which I guess must be her, that's on the scene,
Saying that she had understood that someone -- an
officer had gotten bitten or hurt or something to
that effect. I'm not sure of the e6exact words, but
it was something like that.
@ Okay. Anything else?
A. That's all that I can recall.
MR. 4IBILICH:
Okay. Play it.
{VIDEO PLAYED}

BY MR. 4IBILICH:

QO. Are you talking to Eric at all at this
point?

A. With Hriec and -- I know -- I see there is
a new man on Eric now. I see throughout -- stop
it, please. Throughout this I was telling Eric
it's going to be okay. You're doing a good job

calming down, and he had been calm, and I was --

because I could see the fear in his eyes, and I

wanted to be the person that he knew. He didn't
know anybody else. All these officers he didn't
know. I was the person that is closest to him that

he could see that could assist in calming him down,

and he was.

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was doing that, so that would have to be -- in the
videotape, you see Mr. Pitfield get up.

Q. My question is, when Mr. Pitfield got up,
was there anything about your son's situation that
caused you concern for things Like need of CPR or
was he in a chokehold of any kind? You have used
that word.

A. No, not with -- with Mr. Pitfield, he was
not in a chokehold at that time. That was, from
the videotape, was Mr. Vega was on top of Eric at
that point.

o. Have you had any conversations or talked
to anybody at Westgate since the day of the
incident?

A. Meaning Laser Tag, and I spoke to Mr.

4 iba Lave His They came to the funeral and to offer
their condolences, and I had called them to ask if
they could bring some of the cards that Eric loved
so IT could put them in his casket.

o. But you haven't had any conversations
with anybody at the Westgate, LLC company?

A. I don't even know who they are. I don't.

Oo. When Officer Pitfield arrived on the
scene, do you have any idea in what capacity he was

arriving in, whether he was a private detail

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